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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
v.                                            :       Case No. 1:22-cr-00413-CKK-1
                                              :
                                              :
DOMINIC BOX,                                  :
                                              :
                Defendant.                    :

               MOTION TO EXPEDITE ORDER ON MOTION TO DISMISS

        Dominic Box, by and through undersigned counsel, respectfully requests that this

Honorable Court enter an order granting the government’s motion to dismiss the superseding

indictment with prejudice (ECF No. 110) at the Court’s earliest opportunity. In support of this

motion, counsel submits as follows:

        1.      Mr. Box is currently being held at the D.C. Correctional Treatment Facility (“CTF”)

in relation to the instant case.

        2.      On January 20, 2025, President Trump signed a proclamation (Granting Pardons

and Commutation of Sentences for Certain Offenses Relating To The Events At Or Near The

United States Capitol On January 6, 2021) directing the Attorney General of the United States “to

pursue dismissal with prejudice to the government of all pending indictments against individuals

for their conduct related to the events at or near the United States Capitol on January 6, 2021.” The

proclamation also instructed the Bureau of Prisons to immediately implement all instructions from

the U.S. Department of Justice regarding the president’s directive.

        3.      On January 21, 2025, the government filed a motion seeking to dismiss the

superseding indictment with prejudice. See ECF No. 110.




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       4.      On the evening of January 21, 2025, defense counsel was notified by the General

Counsel’s Office of CTF and the D.C. Jail that Mr. Box has not been released because this Court

has not yet granted the pending motion to dismiss. See Exhibit A.

       5.      In addition to preventing undue prejudice that generally comes with the delay of

ordering such a dismissal, there are additional circumstances specific to Mr. Box’s case that

warrant expedient action: Mr. Box was not permitted to sleep in his cell last night, has lost

complete access to bedding, was denied the ability to shower today, was denied access to the

restroom and his hygiene items for approximately 19 hours of the past 24 hours, and was not

afforded the ability to eat lunch today given that he was asked to speak to the U.S. Marshals during

lunch time and had his tray thrown out without his permission.

       In light of the above, we would ask that this Court enter an order granting the government’s

motion to dismiss at the Court’s earliest opportunity to ensure Mr. Box’s timely release from

custody and to ensure that he is not otherwise unduly prejudiced by additional delay.



                                                     Respectfully submitted,

                                                     _________/s/_______________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of January 2025, I caused a true and correct

copy of the foregoing Motion to be delivered via CM/ECF to all parties.


                                                   _________/s/_______________
                                                   Amy C. Collins




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